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Persons
A
B
C
D
E
F
G
H
I
J
K
L
M       Anwar Bukhamseen
N       Arun Rangacbari
0       Willa Rao
p       Mark Skarulis
Q       Mohammad Khan
R       Francis Person
s
AA      Asifa Zuberi
BB      Gloria Wu
cc      Khalid Ahmed
DD      Miajida Ahmed
EE      Antonio Cardenas
FF      Lucy Rao
GG
HH      Mike Liu
II
JJ
KK
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MM
NN

Companies
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I    Group DF

Campaigns
A     Howard Be1man
B     Ruiz Victory Fund/Dr Raul Ruiz for Congress
C     Engel for Congress
D     Bob Casey for Senate
E     Alison Grimes
F     Royce Campaign Comm.
G     Ted Poe
H    Tony Cardenas
I    Friends of John McCain
J    Lindsey Graham/Team Graham
K    Person for Congress
L    David Cicilline/Cicilline Committee
M    Tim Kaine
N    Wendy Gi-euel
0    Brnce Braley
P    Brad Sherman
Q    Jon Tester
R    Joe Garcia
S    John Conyers, Jr
T    Country First PAC (McCain)
U    Kamala Hanis
V    Keith Ellison
W    Hillary for America
X    O'Malley for President
Y    Patrick Murphy
Z    Steve Knight

AA    McAuliffe for Governor (State)
BB    DNC
CC    Hillary Victory
DD    Obama Victory
EE    2013 PIC (Event)
